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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 SHERWYN ROCKE, individually and on               Case No.: 1:20-cv-11736-RWZ
 behalf of all others similarly situated,
                                                       CERTIFICATE OF SERVICE
                               Plaintiff,
                          v.

 MONARCH RECOVERY
 MANAGEMENT, INC.,

                               Defendant.


       I Ronald M. Metcho, Esq. hereby certify that a true and correct copy of the Motion for

Summary Judgment of Defendant, Monarch Recovery Management, Inc., was served on the

below-listed counsel for Plaintiff, Sherwyn Rocke via ECF on March 25, 2022.

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